                 Case 18-30609                       Doc 23           Filed 08/20/18 Entered 08/20/18 15:16:06              Desc Main
                                                                        Document     Page 1 of 9
OLF3 (Official Local Form 3)
Effective December 1, 2017
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF MASSACHUSETTS

 In re:                                                                                                  Case No.: 18-30609
             Mario A. Gordon                                                                            Chapter 13
                                          Debtor(s)

                                                                            CHAPTER 13 PLAN

Check one. This plan is:
        Original
         Amended (Identify First, Second, Third, etc.)
        Postconfirmation (Date Order Confirming Plan Was Entered:                                                  )
 Date this plan was filed: 08/20/2018



 PART 1:                                                                   NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this Plan, its
provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11 of the United
States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local Bankruptcy Rules
(“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with your
attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any other provision
of this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30) days after the date on
which the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an amended or modified Plan, unless
the Court orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for the Debtor(s), and the Chapter 13 Trustee (the
“Trustee”). The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed or if it overrules an objection to confirmation. You
have received or will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy Court which sets forth certain deadlines, including the
bar date for filing a Proof of Claim. To receive a distribution, you must file a Proof of Claim.

TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed. R. Bankr.
P., and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30) days after the
date of the filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state whether or not this
Plan includes one or more of the following provisions. If you check the provision “Not Included,” if you check both boxes, or if you do not
check a box, any of the following provisions will be void if set forth later in this Plan. Failure to properly complete this section may result in
denial of confirmation of this Plan.

                    FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
 1.1         A limit on the amount of a secured claim, set out in Part 3.B.1, which may result in a Included Not Included
             partial payment or no payment at all to the secured creditor.
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,    Included Not Included
             set out in Part 3.B(3).
 1.3         Nonstandard provisions, set out in Part 8.                                             Included Not Included


 PART 2:                                                               PLAN LENGTH AND PAYMENTS
A.           LENGTH OF PLAN:

              36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);
              60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

               Months. 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:


B.           PROPOSED MONTHLY PAYMENTS:

 Monthly Payment Amount                                                              Number of Months

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                 Case 18-30609                       Doc 23            Filed 08/20/18 Entered 08/20/18 15:16:06                           Desc Main
                                                                         Document     Page 2 of 9
 $231.00                                                                                      6
 $751.00                                                                                      30

C.           ADDITIONAL PAYMENTS:

Check one.
                          None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

The total amount of Payments to the Trustee [B+C]:                                                                            $23,916.00.
This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.

 PART 3:                                                                        SECURED CLAIMS
                          None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.           CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.

             None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
             Any Secured Claim(s) in default shall be cured and payments maintained as set forth in (1) and/or (2) below.
             Complete (1) and/or (2).

             (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders otherwise, the amount(s) of
prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s) listed below. Unless the Court orders otherwise, if relief
from the automatic stay is granted as to any collateral listed in this paragraph, all payments paid through this Plan as to that collateral will cease upon
entry of the order granting relief from stay.

             (a) Secured Claim(s) (Principal Residence)
              Address of the Principal Residence:     26 Shady Brook Ln
                                                      Springfield MA 01118-0000
                     The Debtor(s) estimates that the fair market value of the Principal Residence is:                                                    $133,277.00


 Name of Creditor                                                    Type of Claim                                   Amount of Arrears
                                                                     (e.g., mortgage, lien)
 Seterus, Inc.                                                       First Mortgage                                  $18,532.68

                                                                                    Total of prepetition arrears on Secured Claim(s) (Principal Residence): $18,532.68

             (b) Secured Claim(s) (Other)

 Name of Creditor                                   Type of Claim                   Description of Collateral                        Amount of Arrears
                                                                                    (or address of real property)
 United Auto Credit Co                              Purchase Money                  2005 Ford Excursion Limited 200000               $521.15
                                                    Security                        miles
                                                                                    Kbb private party good value listed

                                                                                                     Total of prepetition arrears on Secured Claim(s) (Other): $521.15
                                                                                      Total prepetition arrears to be paid through this Plan [(a) + (b)]: $19,053.83

             (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):

Contractual installment payments are to be paid directly by the Debtor(s) to creditor(s). The Debtor(s) will maintain the contractual installment
payments as they arise postpetition on the secured claims listed below with any changes required by the applicable contract and noticed in conformity
with any applicable rules.

 Name of Creditor                                                    Type of Claim                                   Description of Collateral




                                                                                                                                                                    Page 2 of 9
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                 Case 18-30609                       Doc 23            Filed 08/20/18 Entered 08/20/18 15:16:06                     Desc Main
                                                                         Document     Page 3 of 9
 Name of Creditor                                                    Type of Claim                               Description of Collateral
 Seterus, Inc.                                                       First Mortgage                              26 Shady Brook Ln Springfield, MA
                                                                                                                 01118 Hampden County
                                                                                                                 Principal residence: 1953 single family
                                                                                                                 home with 3 bedroom s and 1 bath with
                                                                                                                 1200 sq ft on approx 1/4 acre; Deed in
                                                                                                                 Hampden County Registry of Deeds in
                                                                                                                 Book 169859, Page 555.
 United Auto Credit Co                                               Purchase Money Security                     2005 Ford Excursion Limited 200000
                                                                                                                 miles
                                                                                                                 Kbb private party good value listed


B.           MODIFICATION OF SECURED CLAIMS:

Check one.

             None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.

C.           SURRENDER OF COLLATERAL:

Check one.

             None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.

 PART 4:                                                                      PRIORITY CLAIMS
Check one

             None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.

             The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise, the amount of
             the priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.           DOMESTIC SUPPORT OBLIGATIONS:

 Name of Creditor                                                    Description of Claim                        Amount of Claim
 -NONE-

B.       OTHER PRIORITY CLAIMS (Except Administrative Expenses):
 Name of Creditor                     Description of Claim                                                       Amount of Claim
 Internal Revenue Service             Taxes                                                                                                                  $0.00
 Massachusetts Department of Revenue Taxes                                                                                                                   $0.00
 Springfield Water & Sewer Commission Utility                                                                                                              $948.61

                                                              Total of Priority Claim(s) (except Administrative Expenses) to be paid through this Plan: $948.61

C.           ADMINISTRATIVE EXPENSES:

             (1) ATTORNEY’S FEES:

 Name of Attorney                                                                                            Attorney's Fees
 Carrie Naatz 651728                                                                                                                                     $1,000.00

If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount exceeding that sum until
such time as the Court approves a fee application. If no fee application is approved, any plan payments allocated to attorney's fees in excess of
MLBR Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.

             (2) OTHER (Describe):




                                                                                                                                                               Page 3 of 9
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                 Case 18-30609                       Doc 23            Filed 08/20/18 Entered 08/20/18 15:16:06                        Desc Main
                                                                         Document     Page 4 of 9
 -NONE-




Total Administrative Expenses (excluding the Trustee’s Commission) to be paid through this Plan [(1) + (2)]: $1,000.00

             (3) TRUSTEE’S COMMISSION:

The Debtor shall pay the Trustee’s commission as calculated in Exhibit 1.

The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth in Exhibit 1, Line
(h) utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional funds collected by the Trustee, after
payment of any allowed secured and priority claim(s), and administrative expense(s) as provided for in this Plan, shall be disbursed to nonpriority
unsecured creditors up to 100% of the allowed claims.


 PART 5:                                                                NON PRIORITY UNSECURED CLAIMS
Check one.

             None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
             Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below. Only a creditor
             holding an allowed claim is entitled to a distribution.



                 Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $ 521.96 , which the Debtor(s)
                 estimates will provide a dividend of 74 %.
                 Fixed Percentage: each creditor with an allowed claim shall receive no less than % of its allowed claim.

A.           GENERAL UNSECURED CLAIMS:                                                                                                           $704.00

B.           UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 -NONE-

C.           NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 None

D.           CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:

 Name of Creditor                                                    Description of Claim                           Amount of Claim
 -NONE-

E.           TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:

             The amount paid to nonpriority unsecured creditor(s) is not less than that required under the Liquidation Analysis set forth in
             Exhibit 2.

                                                                                                   Total Nonpriority unsecured Claims [A + B + C + D]: $704.00

                      Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed Percentage and enter that amount: $521.96

F.           SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):

 Name of Creditor                         Description of Claim                Amount of Claim           Treatment of Claim         Basis for Separate
                                                                                                                                   Classification
 -NONE-

                                                                              Total of separately classified unsecured claim(s) to be paid through this Plan: $0.00
                                                                                                                                                                  Page 4 of 9
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                 Case 18-30609                       Doc 23          Filed 08/20/18 Entered 08/20/18 15:16:06                Desc Main
                                                                       Document     Page 5 of 9


 PART 6:                                               EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.

             None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.

 PART 7:                                        POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE
If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the Debtor(s) does not receive a
discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13 Standing Trustee's Final Report and Account and the
closing of the case or (ii) dismissal of the case.

 PART 8:                                                             NONSTANDARD PLAN PROVISIONS
             None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
             This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision must be set
             forth below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not otherwise included in Official
             Local Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth elsewhere in this Plan are ineffective. To
             the extent the provisions in Part 8 are inconsistent with other provisions of this Plan, the provisions of Part 8 shall control if the box
             "Included" is checked in Part 1, Line 1.3.

The following Plan provisions are effective only if the box “Included” in Part 1, Line 1.3 is checked.
 1. If a secured creditor with a security interest in the Debtor's property sent regular statements to the Debtor pre-petition,
 and the Debtor's plan provides that installment payments will be made to the creditor, the holder of the claim shall resume
 sending customary monthly statements. If a secured creditor with a security interest in the Debtor's property provided the
 Debtor with coupon books for payments prior to the filing of the petition, upon request, the creditor shall forward
 post-petition coupon book(s) to the Debtor after this case has been filed. The sending of such statements and coupon
 books shall not be considered a violation of the automatic stay or codebtor stay.

 2. Within 30 days of the date of the entry of the Discharge Order in this case, any party in interest with the right to enforce a
 judgment or a deed of trust or any other type of lien that has been full discharged under the terms of this Plan shall mark
 such document as fully paid, satisfied or released by proper form on the public records of any jurisdiction where such
 document or record is on file.

 3. Arbitration provisions of executory contracts are rejected whether scheduled or not.

 4. Postpetition mortgage payments will be paid directly by the debtor to the mortgagee or servicer, and shall be applied and
 credited to debtor's mortgage account without penalty as if account were current on petition date without any prepetition
 default, and in the order of priority specified in the note, security agreement, and applicable nonbankruptcy law. Payments
 that are received from the Trustee for any prepetition arrears shall be applied only to such arrears.

 5. Post-confirmation surrender, repossession or foreclosure is cause for 11 USC 502(j) reconsideration of claim's secured
 status: Deficiency will be an unsecured claim, or no claim if a 910 day vehicle.

 6. Secured claims being paid in full through this Plan must release or discharge their lien and mail any certificate of title to
 debtor or mortgage discharge within thirty (30) days of Ch 13 non-hardship discharge.

 7. Mortgagees and servicers must comply with RESPA & TILA, and must state details of payment adjustments and escrow
 shortages and/or surpluses to debtor, counsel, and the Trustee.

 8. Mortgagees and/or servicers must mail a year-end IRS 1098 mortgage interest statement to the Debtor for any money
 received on debtors account within the tax year, regardless of source.



 PART 9:                                                                 SIGNATURES
By signing this document, Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits filed as identified
below.




                                                                                                                                                        Page 5 of 9
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                 Case 18-30609                       Doc 23          Filed 08/20/18 Entered 08/20/18 15:16:06              Desc Main
                                                                       Document     Page 6 of 9
By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits identified below, other than any Nonstandard
Plan Provisions in Part 8.


       /s/ Mario A. Gordon                                                             August 20, 2018
       Mario A. Gordon                                                                 Date
       Debtor


       Debtor                                                                          Date

      /s/ Carrie Naatz                                                          Date   August 20, 2018
 Signature of attorney for Debtor(s)
 Carrie Naatz 651728
 651728 MA
 Naatz Law Office
 1111 Elm St., Suite 28
 West Springfield, MA 01089
 413-336-8300
 Office@NaatzLaw.com

The following Exhibits are filed with this Plan:
  Exhibit 1: Calculation of Plan Payment*
    Exhibit 2: Liquidation Analysis*
    Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**
    Exhibit 4: [Proposed] Order Avoiding Lien Impairing Exemption**

 List additional exhibits if applicable.


*Denotes a required Exhibit in every plan
**Denotes a required Exhibit if the box "Included" is checked in Part 1, Line 1.2.

Total number of Plan pages, included Exhibits: 9




                                                                                                                                                      Page 6 of 9
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                 Case 18-30609                       Doc 23          Filed 08/20/18 Entered 08/20/18 15:16:06       Desc Main
                                                                       Document     Page 7 of 9
                                                                              EXHIBIT 1

                                                                     CALCULATION OF PLAN PAYMENT

 a)    Secured claims (Part 3.A and Part 3.B.1-3 Total):                                                                              $19,053.83
 b)    Priority claims (Part 4.A and Part 4.B Total):                                                                                    $948.61
 c)    Administrative expenses (Part 4.C.1 and 4.C.2 Total):                                                                           $1,000.00
 d)    Nonpriority unsecured claims (Part 5.E Total):                                                                                    $521.96
 e)    Separately classified unsecured claims (Part 5.F Total):                                                                            $0.00
 f)    Executory contract/lease arrears claims (Part 6 Total):                                                                             $0.00
 g)    Total of (a) + (b) + (c) + (d) + (e) + (f):                                                                                    $21,524.40
 h)    Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                                                          $23,916.00
 i)    Divide (h), Cost of Plan, by term of Plan, 36 months:                                                                             $664.33
 j)    Round up to the nearest dollar amount for Plan payment:                                                                           $231.00

If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete(a) through (h) only
and the following:

 k)    Enter total amount of payments the Debtor(s) has paid to the Trustee:
 l)    Subtract line (k) from line (h) and enter amount here:
 m)    Divide line (l) by the number of months remaining ( months):
 n)    Round up to the nearest dollar amount for amended Plan payment:

 Date the amended Plan payment shall begin:




                                                                                                                                              Page 7 of 9
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                 Case 18-30609                       Doc 23          Filed 08/20/18 Entered 08/20/18 15:16:06                 Desc Main
                                                                       Document     Page 8 of 9
                                                                              EXHIBIT 2

                                                                         LIQUIDATION ANALYSIS

A. REAL PROPERTY
Address                        Value                                               Lien                              Exemption
(Sch. A/B, Part 1)             (Sch. A/B, Part 1)                                  (Sch. D, Part 1)                  (Sch. C)
26 Shady Brook Ln              133,277.00                                          138,633.00                        0.00
Springfield, MA 01118
Hampden County
Principal residence: 1953
single family home with 3
bedroom s and 1 bath with
1200 sq ft on approx 1/4 acre;
Deed in Hampden County
Registry of Deeds in Book
169859, Page 555.

 Total Value of Real Property (Sch. A/B, line 55):                                                    $   133,277.00
 Total Net Equity for Real Property (Value Less Liens):                                               $   0.00
 Less Total Exemptions for Real Property (Sch. C):                                                    $   0.00
                                          Amount Real Property Available in Chapter 7:                $   0.00

B. MOTOR VEHICLES

 Make, Model and Year                               Value                          Lien                              Exemption
 (Sch. A/B, Part 2)                                 (Sch. A/B, Part 2)             (Sch. D, Part 1)                  (Sch. C)
 2005 Ford Excursion Limited                        7,035.00                       3,632.27                          3,402.73
 200000 miles
 Kbb private party good value
 listed

 Total Value of Motor Vehicles (Sch. A/B, line 55):                                                   $   7,035.00
 Total Net Equity for Motor Vehicles (Value Less Liens):                                              $   3,402.73
 Less Total Exemptions for Motor Vehicles (Sch. C):                                                   $   3,402.73
                                           Amount Motor Vehicle Available in Chapter 7:               $   0.00

C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

 Asset                                              Value                          Lien                              Exemption
                                                                                   (Sch. D, Part 1)                  (Sch. C)
 1979 Classic TC Edition                            200.00                         0.00                              200.00
 Boat not seaworthy
 Usual Household goods,                             4,500.00                       0.00                              4,500.00
 furniture, fixtures and
 furnishings for a 3 bedroom
 home including: appliances,
 table w chairs, recliner,
 computer desk, (2) twin beds,
 bureau, lawnmower,
 snowblower, patio furniture,
 kithcenware, linens, small
 electrics, wall hangin
 (2) televisions over 4 years                       230.00                         0.00                              230.00
 old, (1) x-box, (1) ps3, and (1)
 tablet
 Mountain bike                                      50.00                          0.00                              50.00
 Usual clothes and shoes                            600.00                         0.00                              600.00
 Cash                                               60.00                          0.00                              60.00
 Checking #6854: Wells Fargo                        41.07                          0.00                              41.07
 Bank, N.A., PO Box 6995,
 Portland, OR 97228


                                                                                                                                                        Page 8 of 9
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                 Case 18-30609                       Doc 23          Filed 08/20/18 Entered 08/20/18 15:16:06                   Desc Main
                                                                       Document     Page 9 of 9
 Asset                                              Value                           Lien                               Exemption
                                                                                    (Sch. D, Part 1)                   (Sch. C)
 Checking #8482: Wells Fargo                        348.24                          0.00                               348.24
 Bank, N.A., PO Box 6995,
 Portland, OR 97228
 Savings #7312: Wells Fargo                         1,559.25                        0.00                               860.69
 Bank, N.A., PO Box 6995,
 Portland, OR 97228
 Wells Fargo Bank, N.A., PO                         3,221.25                        0.00                               3,221.25
 Box 6995, Portland, OR 97228
 Federal: 2016 Tax Refund                           2,381.00                        0.00                               2,381.00
 State: 2016 tax refund                             499.00                          0.00                               499.00
 Mechanic tools                                     500.00                          0.00                               500.00

 Total Value of All Other Assets:                                                                      $   14,189.81
 Total Net Equity for All Other Assets (Value Less Liens):                                             $   14,189.81
 Less Total Exemptions for All Other Assets:                                                           $   13,491.25
                                     Amount of All Other Assets Available in Chapter 7:                $   698.56

D. SUMMARY OF LIQUIDATION ANALYSIS

                                  Amount available in Chapter 7                                                                   Amount
 A. Amount Real Property Available in Chapter 7 (Exhibit 2, A)                                                    $                                         0.00
 B. Amount Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                                                   $                                         0.00
 C. Amount All Other Assets Available in Chapter 7 (Exhibit 2, C)                                                 $                                       698.56

                                                                     TOTAL AVAILABLE IN CHAPTER 7:                $                                       698.56


E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




                                                                                                                                                          Page 9 of 9
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